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     Defendant
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 8                              IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                   )   No. 2:12-CR-00316-LKK
                                                 )
12                        Plaintiff,             )   ORDER EXCLUDING TIME FROM SPEEDY
                                                 )   TRIAL ACT COMPUTATION
13          v.                                   )
                                                 )
14   JANEIGH MENDOZA,                            )
                                                 )
15                       Defendants.             )
                                                 )
16                                               )
17
18          This matter came on before this Court for change of plea hearing on September 10, 2013.
19   The defendant, Janeigh Mendoza, failed to appear for lack of transportation from her home in
20   Manteca, California. At the request of her counsel, Candace A. Fry, and as agreed by counsel
21   for the Government, Assistant U. S. Attorney Justin Lee, the change of plea hearing was re-set
22   for September 17, at 9:15 a.m.
23          The Court finds that the ends of justice served by granting this continuance outweigh the
24   best interests of the public and the defendants in a speedy trial and, accordingly, that the period
25   //
26   //
27   //
28   //


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 1   from September 10, 2013, through September 17, 2013, shall be excluded from the computation
 2   of the time within which the trial of this case must be commenced under the Speedy Trial Act,
 3   pursuant to 18 U.S.C. §3161(h)(7)(B)(iv) and Local Code T-4.
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 5         IT IS SO ORDERED.
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     Dated: September 12, 2013
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